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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                  GAINESVILLE DIVISION


                                                    :
                                                    :
             DENNIS ROSS,                           :
                                                    :
                         Plaintiff,                 :    CIVIL ACTION NO.
                                                    :    2:06-CV-116-RWS
                   v.                               :
                                                    :
             METROPOLITAN CHURCH OF                 :
             GOD and CHARLIE B. RAMSEY,             :
             JR.,                                   :
                                                    :
                         Defendants.                :



                                                ORDER

                   This case comes before the Court on Defendants Metropolitan Church of

             God and Charlie B. Ramsey, Jr.’s Motion to Dismiss [4]. After reviewing the

             record, the Court enters the following Order.

                                              Background

                   Plaintiff Dennis Ross, the former Pastor of Worship Arts of the

             Metropolitan Church of God (“Metropolitan Church”), brought this action in

             June 2006 against Defendant Metropolitan Church and its Senior Pastor in the




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             State Court of Forsyth County. On August 4, 2006, Defendants removed the

             action on the basis of federal-question jurisdiction to this Court. In his

             Complaint, Plaintiff asserts four causes of action relating to Defendants’

             termination of his employment in February 2004. Count I alleges breach of

             contract; Count II alleges breach of implied-in-fact contract; Count III alleges

             wrongful termination on the basis of race in violation of 42 U.S.C. § 1981; and

             Count IV alleges promissory estoppel. As this case comes before the Court on

             a motion to dismiss, the Court accepts as true the allegations in Plaintiff’s

             Complaint.

                   Plaintiff is an African American male with “extensive experience as a

             minister, as well as a composer, arranger, producer, [and] pianist.” In October

             2003, while Plaintiff was residing in Los Angeles, California, Plaintiff

             interviewed with Senior Pastor Ramsey for the position of Minister of Worship

             Arts at the Metropolitan Church in Cumming, Georgia. The job involved

             leading the Metropolitan Worship Arts Department, conducting musical

             activities at the church, and assisting in the production of CDs, videos, and

             other products. As a result of the interview, Pastor Ramsey offered Plaintiff the

             position, and Plaintiff accepted.

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                    In December 2003, Plaintiff moved to Duluth, Georgia, and began

             working as the Pastor of Worship Services at the Metropolitan Church. Shortly

             after Plaintiff commenced his employment, however, Pastor Ramsey began

             making racially insensitive comments to him, such as “Latinos are lazy,” and

             “more blacks will probably join the church now that you are here, I guess we’ll

             get more ‘rims.’” Pastor Ramsey also expressed dissatisfaction with Plaintiff’s

             music, telling Plaintiff that “this is a white church, Shirley Caesar music won’t

             work here,” and “since you’ve come, the church is experiencing white flight.”

             On February 24, 2004, Pastor Ramsey terminated Plaintiff. This action

             followed.

                                                  Discussion

             I.     Motion to Dismiss Standard

                    When considering a FED. R. CIV. P. 12(b)(6) motion to dismiss, a federal

             court is to accept as true “all facts set forth in the plaintiff’s complaint.”

             Grossman v. Nationsbank, N.A., 225 F.3d 1228, 1231 (11th Cir. 2000) (citation

             omitted). Further, the court must draw all reasonable inferences in the light

             most favorable to the plaintiff. Bryant v. Avado Brands, Inc., 187 F.3d 1271,

             1273 n.1 (11th Cir. 1999). Thus, a complaint may not be dismissed under Rule

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             12(b)(6) “‘unless it appears beyond doubt that the plaintiff can prove no set of

             facts in support of his claim which would entitle him to relief.’” Rosen v.

             TRW, Inc., 979 F.2d 191, 194 (11th Cir. 1992) (quoting Conley v. Gibson, 355

             U.S. 41, 45-46, 78 S. Ct. 99, 2 L. Ed. 2d 80 (1957)).

             II.     Defendants’ Motion to Dismiss

                     Defendants have moved to dismiss Plaintiff’s Complaint, arguing, among

             other things, that Plaintiff’s § 1981 claim is barred by the ministerial exception

             of the First Amendment, which forbids courts from encroaching on the ability

             of a church to manage its internal affairs. As explained below, the Court agrees

             with Defendants’ contention, and dismisses with prejudice Plaintiff’s § 1981

             claim. But because the Court declines to exercise supplemental jurisdiction

             over Plaintiff’s remaining state-law claims, the Court remands the remainder of

             this action to state court.

                     A.    Ministerial Exception Bars Plaintiff’s § 1981 Claim

                     The Free Exercise and Establishment Clause of the First Amendment

             prohibit a church from being sued by its clergy for decisions relating to its

             internal management and administration. See Gellington v. Christian Methodist

             Episcopal Church, Inc., 203 F.3d 1299, 1304 (11th Cir. 2000) (affirming

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             summary judgment in favor of church in Title VII suit brought by an ordained

             minister on the basis of the First Amendment’s ministerial exception). In

             Gellington, the Eleventh Circuit reaffirmed the “ministerial exception” to civil

             rights legislation,1 reasoning that “ ‘[t]he relationship between an organized

             church and its ministers is its lifeblood,’ ” and thus “[a]n attempt by the

             government to regulate the relationship . . . would infringe upon the church’s

             right to be the sole governing body of its ecclesiastical rules and religious

             doctrine.” Id. (quoting McClure v. Salvation Army, 460 F.2d 553, 558-59 (5th

             Cir. 1972)). Gellington follows a consensus of federal cases in recognizing the

             ministerial exception, and makes explicit its provenance in the First

             Amendment of the United States Constitution. See id. at 1305.

                    The ministerial exception is most often raised as a defense to the inquiry

             required by a Title VII employment discrimination action. See id.; McClure,

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                       In its original conception, the “ministerial exception” arose as an exception to the
             application of Title VII to religious institutions. See Rayburn v. Conference of Seventh-
             Day Adventists, 772 F.2d 1164, 1168 (4th Cir. 1985) (coining the phrase “ministerial
             exception to Title VII”). As the Court’s discussion below makes clear, however, its
             application to other federal and state laws outside of Title VII has rendered its title
             somewhat obsolete. It has been since described as “a constitutionally-derived exception
             to civil rights legislation that ‘insulates a religious organization’s employment decisions
             regarding its ministers from judicial scrutiny.’” Elvig v. Ackles, 98 P.3d 524, 527 (Wash.
             Ct. App. 2004) (citing Bollard v. Cal. Province of the Soc’y of Jesus, 196 F.3d 940, 944
             (9th Cir. 1999)).

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             460 F.3d at 558. Its constitutional protection, however, is equally robust in

             actions brought under other state and federal laws which interfere in matters of

             church governance. The ministerial exception has been held to bar actions

             brought under the Age Discrimination in Employment Act, e.g., Tomic v.

             Catholic Diocese of Peoria, 442 F.3d 1036, 1040 (7th Cir. 2006); Hankins v.

             Lyght, 441 F.3d 96 (2d Cir. 2006); Minker v. Balt. Annual Conference of

             United Methodist Church, 894 F.2d 1354 (D.C. Cir. 1990); the Americans with

             Disabilities Act, e.g., Hollins v. Methodist Healthcare, Inc., ___ F.3d ___, 2007

             WL 63714 (6th Cir. Jan. 10, 2007); Werft v. Desert Sw. Annual Conference of

             the United Methodist Church, 377 F .3d 1099 (9th Cir. 2004); Starkman v.

             Evans, 198 F.3d 173 (5th Cir.1999); the Fair Labor Standards Act, e.g.,

             Schleicher v. Salvation Army, No. 1:06-CV-545-RLY, 2007 WL 129041, at *3-

             4 (S.D. In. Jan. 12, 2007); the Family Medical Leave Act, e.g., Shaliehsabou v.

             Hebrew Home of Greater Wash., 363 F.3d 299, 307, 369 F.3d 797 (4th Cir.

             2004); Fassl v. Our Lady of Perpetual Help Roman Catholic Church, No. 05-

             CV-404, 2005 WL 2455253 (E.D. Pa. Oct. 5, 2005); state civil conspiracy and

             negligent supervision tort laws, e.g., Petruska v. Gannon Univ., 462 F.3d 294

             (3d Cir. 2006); and state labor laws, e.g., Natal v. Christian Missionary

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             Alliance, 878 F.2d 1575 (1st Cir. 1989).2 Moreover, at least two courts have

             applied the ministerial exception to bar actions alleging discrimination under 42

             U.S.C. § 1981. See Bogan v. Mississippi Conference of United Methodist

             Church, 433 F. Supp. 2d 762, 763 (S.D. Miss. 2006); Stately v. Indian

             Community School of Milwaukee, Inc., 351 F. Supp. 2d 858, 869 (E.D. Wis.

             2004).

                    Despite its name, the ministerial exception is not limited to the minister-

             church relationship. While the Eleventh Circuit has thus far only had occasion

             to apply the ministerial exception to ordained ministers, see Gellington, 203

             F.3d at 1301; McClure, 460 F.2d at 555, the doctrine has been readily extended

             in other jurisdictions to bar claims brought by other church employees. In

             determining whether the exception applies, courts have generally focused on the

             function of the plaintiff’s employment position rather than the plaintiff’s title.

             See, e.g., Rayburn v. Gen. Conference of Seventh-Day Adventists, 772 F.2d

             1164, 1168 (4th Cir. 1985). If “the employee’s primary duties consist of


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                      While the ministerial exception generally applies to bar state law tort claims that
             require an inquiry into church administrative decisionmaking, it has generally not been
             held to bar state law contract claims, because “application of state contract law does not
             involve government-imposed limits on [a church’s] right to select its ministers,” but
             rather seeks to enforce a purely voluntary promise. See Petruska, 462 F.3d at 310.

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             teaching, spreading the faith, church governance, supervision of a religious

             order, or supervision or participation in religious ritual and worship,” or the

             position is “important to the spiritual and pastoral mission of the church,” the

             plaintiff may be considered a “minister” for purposes of the ministerial

             exception. Id.

                   Applying this analysis, two circuit courts of appeals have extended the

             ministerial exception to musical directors of religious institutions. See Tomic,

             442 F.3d at 1037 (musical director and organist); Starkman v. Evans, 198 F.3d

             173, 174 (5th Cir. 1999) (choir director). It has also been applied to bar an

             action brought by a former church press secretary because “[d]etermination of

             whose voice speaks for the church is a per se religious matter.”

             Alicea-Hernandez v. Catholic Bishop of Chicago, 320 F.3d 698, 703-04 (7th

             Cir. 2003) (citing Minker, 894 F.2d at 1356)). Likewise, the doctrine has been

             applied to other positions determined to be religious in nature. See, e.g.,

             Hollins, 2007 WL at *1 (resident in hospital pastoral education program);

             Petruska, 462 F.3d at 299 (college chaplain); E.E.O.C. v. Catholic Univ. of

             Am., 83 F.3d 455, 467 (D.C. Cir. 1996) (nun); Rayburn, 772 F.2d at 1168

             (associate in pastoral care); Schleicher, 2007 WL 129041, at *4 (administrator

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             of adult rehabilitation center of Salvation Army); Curay-Cramer v. Ursuline

             Academy of Wilmington, Delaware, Inc., 344 F. Supp. 2d 923, 932-33 (D. Del.

             2004) (religion teacher at parochial high school); Shaliehsabou, 363 F.3d at 307

             (kosher food supervisor); Musante v. Notre Dame of Easton Church, 2004 WL

             721774, at *2 (D. Conn. Mar. 30, 2004) (director of religious education).

                   In Tomic, the Seventh Circuit held that the ministerial exception applied

             to bar an organist and music director’s ADEA claim against his former church

             because the plaintiff, by playing music on behalf of a Catholic church,

             “performed tasks that were ‘traditionally ecclesiastical or religious.’” 442 F.3d

             at 1041 (quoting Starkman, 198 F.3d at 177). The court rejected the plaintiff’s

             contention that his job was task-oriented, and not religious in nature, because it

             concluded that music was an inextricably religious activity when played at

             church. Judge Posner, writing for a unanimous panel, explained:

                          The religious music played at a wedding is not
                          necessarily suitable for a funeral; and religious music
                          written for Christmas is not necessarily suitable for
                          Easter. Even Mozart had to struggle over what was
                          suitable church music with his first patron . . . . Music
                          is a vital means of expressing and celebrating those
                          beliefs which a religious community holds most
                          sacred. Music is an integral part of many different
                          religious traditions, including the Catholic tradition.

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             Id. at 1040-41 (citations and quotations omitted).

                   Despite the plaintiff’s contention that the court would need to examine

             the church’s decision to terminate the plaintiff only as it related to his skills as a

             musician and his age, the court nonetheless concluded that the inquiry required

             by the ADEA would inevitably lead to a religious controversy, because the

             church’s decisions regarding the hiring of a musical performer involved

             religious considerations. The court explained:

                            The reference in the complaint in this case to the
                            dispute between Tomic and the bishop’s assistant
                            suggests that if the suit were permitted to go forward,
                            the diocese would argue that he was dismissed for a
                            religious reason—his opinion concerning the
                            suitability of particular music for Easter
                            services—and the argument could propel the court
                            into a controversy, quintessentially religious, over
                            what is suitable music for Easter services. Tomic
                            would argue that the church’s criticism of his musical
                            choices was a pretext for firing him, that the real
                            reason was his age. The church would rebut with
                            evidence of what the liturgically proper music is for
                            an Easter Mass and Tomic might in turn dispute the
                            church’s claim. The court would be asked to resolve a
                            theological dispute.

             Id. at 1040.




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                   Thus, the court concluded, the ministerial exception barred the plaintiff’s

             ADEA claim. Id.; see also Starkman, 198 F.3d at 176-177 (concluding that

             choir director’s ADA and state labor-law claims were barred by ministerial

             exception because “religious music plays a highly important role in the spiritual

             mission of the church,” the plaintiff was required to “coordinate church and

             worship activities relating to the church’s Music Ministry, rehearse with choirs

             and conduct those choirs, hire musicians and lower level music ministry

             directors, and write articles about the church’s Music Ministry for the weekly

             church bulletin,” and because “music constitutes a form of prayer that is an

             integral part of worship services and Scripture readings”).

                   In the instant case, the Court has little difficulty in concluding, as did the

             Seventh Circuit in Tomic and the Fifth Circuit in Starkman, that Plaintiff’s §

             1981 action is barred by the ministerial exception. As an initial matter, the

             Court agrees with its sister courts that have addressed the issue that the

             ministerial exception, which has its roots in the First Amendment, applies to

             protect religious institutions from the intrusive inquiry required in a § 1981

             action alleging race discrimination. See Bogan, 433 F. Supp. 2d at 763; Stately,

             351 F. Supp. 2d at 869.

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                   Moreover, there can be little doubt that Plaintiff’s position as the director

             of the Worship Arts Department of the Metropolitan Church falls within the

             ambit of the ministerial exception. It is clear from Plaintiff’s Complaint that his

             position as Pastor of Worship Services is “important to the spiritual and pastoral

             mission of the church.” Rayburn, 772 F.2d at 1169. Plaintiff’s primary duties,

             which include supervising the Worship Arts Department and directing the

             musical affairs of the Metropolitan Church, involve “church governance . . . or

             supervision or participation in religious ritual and worship,” and are thus

             ecclesiastical in nature. Id. at 1169. As such, Plaintiff’s race discrimination

             claim brought pursuant to § 1981 would require this Court to encroach into the

             internal affairs of church management and is thus barred by the ministerial

             exception of the First Amendment.

                   To be sure, Plaintiff is correct that the application of the ministerial

             exception requires a fact-specific inquiry and a determination of the functions

             of a church employee. Nonetheless, courts have regularly dismissed actions

             barred by the ministerial exception pursuant to a Rule 12b(6) motion on the

             basis of the allegations contained in the plaintiff’s complaint. See Hollins, 2007

             WL at *1; Petruska, 462 F.3d at 299; Tomic, 442 F.3d at 1037;

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             Cooper-Igwebuike v. United Methodist Church, 160 Fed. App’x 549, 549 (8th

             Cir. 2005); Werft, 377 F.3d at 1100; Catholic Univ., 83 F.3d at 457; Ajabu v.

             St. James United Methodist Church, No. 3:06-CV-9-CAR, 2006 WL 2263976,

             at *2 (M.D. Ga. Aug. 8, 2006). Where the plaintiff’s “own complaint

             establishes that her primary duties involved ministerial functions,” her action

             may be properly dismissed in accordance with the ministerial exception.

             Petruska, 462 F.3d at 307 n.10.

                    Here, Plaintiff’s allegations indicate that, as the Pastor of Worship Arts,

             he was a “minister” and “composer” who was “running the Worship Arts

             Department” as its “next leader.” Pastor Ramsey’s alleged statement that

             “Shirley Caesar music won’t work here” makes clear that, were this case to

             proceed, it would inevitably lead into a dispute over the propriety of the

             Metropolitan Church’s governance decisions. The Court would quickly be

             called on to determine the validity of Pastor Ramsey’s distaste for Plaintiff’s

             music, and whether he was motivated by a genuinely religious or invidiously

             discriminatory intent in terminating Plaintiff. Indeed, “his opinion concerning

             the suitability of [Plaintiff’s] music . . . could propel the court into a

             controversy, quintessentially religious,” over what is suitable music for worship

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             services at the Metropolitan Church. See Tomic, 442 F.3d at 1040. The First

             Amendment forbids that inquiry. Accordingly, insofar as Defendants seek

             dismissal of Plaintiff’s § 1981 claim, their motion is GRANTED.

                   B.     Plaintiff’s Remaining Claims

                   As the result of this Court’s dismissal of Plaintiff’s only federal claim at

             issue, the Court turns to examine whether it should exercise supplemental

             jurisdiction over Plaintiff’s remaining state law claims.

                   Under 28 U.S.C. § 1367(a), “in any civil action of which the district

             courts have original jurisdiction, the district courts shall have supplemental

             jurisdiction over all other claims that are so related to claims in the action

             within such original jurisdiction that they form part of the same case or

             controversy under Article III of the United States Constitution.” However,

             “district courts may decline to exercise supplemental jurisdiction over a claim

             under subsection (a) if . . . the district court has dismissed all claims over which

             it has original jurisdiction.” 28 U.S.C. § 1367(c)(3).

                   In determining whether to exercise supplemental jurisdiction over

             pendent state law claims under § 1367(c), a court should consider the interests

             of judicial economy, convenience, fairness to the litigants, and comity. See

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             Palmer v. Hosp. Auth. of Randolph County, 22 F.3d 1559, 1569 (11th Cir.

             1994) (holding that these factors, as provided by the Supreme Court in United

             Mine Workers v. Gibbs, 383 U.S. 715, 86 S. Ct. 1130, 16 L. Ed. 2d 218 (1966),

             survive the enactment of § 1367). “When the balance of these factors indicates

             that a case properly belongs in state court, as when the federal-law claims have

             dropped out of the lawsuit in its early stages and only state-law claims remain,

             the federal court should decline the exercise of jurisdiction by dismissing the

             case without prejudice.” Carnegie-Mellon Univ. v. Cohill, 484 U.S. 343, 350 &

             n. 7, 108 S. Ct. 614, 619 n. 7, 98 L. Ed. 2d 720 (1988); see also Arnold v.

             Tuskegee Univ., No. 06-11156, 2006 WL 3724152, at *6 (11th Cir. Dec. 19,

             2006) (“When the district court has dismissed all federal claims from a case,

             there is a strong argument for declining to exercise supplemental jurisdiction

             over the remaining state law claims.”); Baggett v. First Nat’l Bank of

             Gainesville, 117 F.3d 1342, 1353 (11th Cir. 1997) (same).

                   In the instant case, the Court has dismissed Plaintiff’s only federal-law

             claim in the early stages of this litigation. The resolution of Plaintiff’s

             remaining claims depends exclusively on determinations of state law. As the

             Eleventh Circuit has admonished, “[s]tate courts, not federal courts, should be

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             the final arbiters of state law.” Id. Considerations of comity therefore

             singularly favor a remand of this action to state court. Furthermore, the Court

             finds that judicial economy, fairness, and convenience favor resolution by a

             state court of the remaining claims in this case. “This is especially true here

             where the Court is dismissing Plaintiff’s federal law claim prior to trial.” Id.

             Accordingly, insofar as Defendant moves to dismiss Plaintiff’s remaining

             claims, that motion is DENIED as moot and the case is REMANDED to the

             State Court of Forsyth County for further proceedings.

                                                Conclusion

                   For the foregoing reasons, Defendants’ Motion to Dismiss [4] is hereby

             GRANTED in part and DENIED in part. It is granted insofar as it seeks

             dismissal with prejudice of Count III of Plaintiff’s Complaint alleging race

             discrimination under 42 U.S.C. § 1981. The Clerk is DIRECTED to enter

             judgment for Defendants on Count III of Plaintiff’s Complaint. It is denied as

             moot insofar as it seeks dismissal of Counts I, II, and IV of Plaintiff’s

             Complaint.

                   The Clerk is DIRECTED to REMAND this case to the State Court of

             Forsyth County, Georgia, and to TRANSMIT a certified copy of this Order to

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             the Clerk of that Court. The Clerk is FURTHER DIRECTED to CLOSE this

             case following entry of judgment and remand.


                   SO ORDERED this 23rd day of January, 2007.




                                                 _______________________________
                                                 RICHARD W. STORY
                                                 UNITED STATES DISTRICT JUDGE




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